
PER CURIAM.
This cause having been heretofore submitted to this Court on Petition for Writ of Certiorari filed by Petitioners, Greyhound Lines, Inc., Greyhound Lines-East Division, and Tamiami Trail Tours, Inc., along with transcript of record and briefs to review order No. 9167 dated October 9, 1970 refusing to disturb Order No. 9087 dated September 4, 1969 both of the Florida Public Service Commission and the Petition and record having been inspected, oral argument had and the briefs studied, it is ordered said Petition be and the same is hereby denied.
ROBERTS, C. J., and ERVIN, CARLTON, ADKINS and BOYD, JJ., concur.
